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IN THE UNITED STATES DISTRICT COURT Fu.:zn m w 7 D~C-
FOR THE WESTERN I)ISTRICT 0F TENNESSEE

 

WESTERN DIVISION QSH:ZY \1 fin 6= b§

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OLEN M. BAILEY, ;rR,, Individuaiiy V;!j§_ ~(_»;_,_- -¢i\;, arterial-is

TERESA W. BAILEY, Individually; THE
BAILEY LAW FIRM, A Professional
Corporation; and OLEN M. BAILEY, JR.
and TERESA W. BAILEY as Successors
of UNBORN BAILEY BABY GIRL,

Plaintiffs,
VS. NO. 04-2395 DP
DECK - White Station Tower, LLC;
DECK - White Station Manager, LLC;
KAUFMAN PROPERTIES, INC.;
KAUFMAN REALTY GROUP, LLC;
TRAMMEL CROW COMPANY, P.C.,
lNC.; SANITORS, INC.; and JOHN/JANE
DOES, Individually

Defendants and Third-Party Piaintiff

VS.
D.L. SCHMITZ WATERPROOFING &
RESTORATION COMPANY, INC., and
KERMIT B. BUCK & SON, INC.,

Third-Party Defendants.,

Defendants.

 

CONSENT ORDER GRANTING DEFENDANT KAUFMAN PROPERTIES, INC. AND
KAUFMAN REALTY GROUP, LLC’S MOTION FOR PARTIAL SUMMARY
JUDGMENT

 

IN THIS CAUSE, it appearing to the Court that the Defendants’ Motion for Partial
Summary Judgment as to the claim concerning Unborn Bailey Baby Girl be granted and that the

claim is hereby dismissed With prejudice

557

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lT IS THEREFORE ORDERED ADJUDGED AND DECREED that Defendants’
Motion for Partial Summary Judgment be granted by consent of Plaintiffs and Defendants
Kaufrnan Properties, ]nc. and Kaufman Realty Group, LLC and that Plaintiffs’ claim related to

Unbom Bailey Baby Girl is hereby dismissed with prejudice

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DATE; 5/// falde
APPRo\/ED BY;

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JAMESB. SUMMERS (#4721)
Counsel for Defendants

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i,")w.\| \. ......... _`;d \]':S`:Q_

CERTIFICATE OF SERVICE

l, James B. Summers, do hereby certify that a copy of the foregoing Motion Was

forwarded, via U.S. Mail, postage prepaid, on this the 540 day Of l"i<L_-V¢ , QQQ'j, to the
following: j l

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Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CV-02395 Was distributed by faX, mail, or direct printing on
May 11, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

